

People v Rondelle T. (2021 NY Slip Op 06561)





People v Rondelle T.


2021 NY Slip Op 06561


Decided on November 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 23, 2021

Before: Acosta, P.J., Gische, Singh, Scarpulla, Mendez, JJ. 


Ind. No. 3101/08 Appeal No. 14664 Case No. 2019-2017 

[*1]The People of the State of New York, Respondent,
vRondelle T., Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Molly Schindler of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Beth R. Kublin of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about November 30, 2018, as amended December 18, 2018 and January 3, 2019, adjudicating defendant a level three sexually violent offender with regard to his state conviction and a level three sex offender with regard to his federal conviction, pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion in following the Board of Examiners of Sex Offenders' recommendation for an upward departure based on clear and convincing evidence of the extreme heinousness and extent of defendant's sexual misconduct, which was not adequately accounted for in the risk assessment instrument, and which demonstrated a threat to the safety of children that outweighed the mitigating factors cited by defendant (see generally People v Gillotti, 23 NY3d 841, 861 [2014]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 23, 2021








